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Fu.En BY fine
IN THE UNITED sTATES DISTRICT CoURT 05 AUG __ _
FoR THE WESTERN DISTRICT oF TENNESSEE ' P" 3‘ 37

 

WESTERN DIVISION THOLW M,
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W!U {TF iii§¢`tiDHiS
MEMPHIS CENTER FOR ]NDEPENDENT
LIVING,
Plaintiff, Case No.: 01-2069 D

V.
MRB WINDYK_E, LP, et al.,

Deferldants.

 

ORDER

 

Before the court is the USA’S Motion to Enter Scheduling Memora;ndum (Docket #588) and

Motion for Leave to File A Supplemental Second Arnended Complaint in lntervention (Docket #

590).

For good cause shown, these motions are granted.

IT IS SO ORDERED this 4 f day of _@¢*_, 2005.

B CE BOUIE DONALD
UNTTED STATES DISTR_ICT JUDGE

This document entered on the docket sheetf ' _
with Hu|e 58 and/or 79(3) FRCP on

 

F 'NI\I'ESSEE

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